Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.1 Filed 04/05/21 Page 1 of 12

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
THERESA CASSELLA
Plaintiff, CASE No.: 2:21-cv-10772
Vv HON.

DELTA AIRLINES, INC,
SKYWEST, INC, and d/b/a SKYWEST,
and PROSPECT AIRPORT SERVICES, INC. JURY TRIAL DEMANDED

Defendants.

 

 

Thomas J. Wuori (P41096)
Blake K. Ringsmuth (P44013)
RINGSMUTHWUORI PLLC
Attorneys for Plaintiff

102 W. Front Street, Ste. 401
Traverse City, MI 49684

(231) 929-4700

(231) 929-4702 (Fax)
tom@rwinjurylaw.com
blake@rwinjurylaw.com
kate@rwinjurylaw.com

 

 

 

 

COMPLAINT AND JURY DEMAND
NOW COMES Plaintiff, THERESA CASSELLA, by and through her attorneys,
RingsmuthWuori, PLLC, and for her Complaint and Jury Demand against Defendants, DELTA
AIRLINES, INC. (“DELTA”), SKYWEST, INC., and d/b/a SKYWEST AIRLINES (“SKY-
WEST”), and PROSPECT AIRPORT SERVICES, INC. (“PROSPECT”) states as follows:
PARTIES, JURISDICTION AND VENUE

I. Plaintiff is a citizen and resident of Albany, New York.
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.2 Filed 04/05/21 Page 2 of 12

2. Defendant DELTA is a Delaware corporation with its principal place of business
in Atlanta, Georgia.

3. Defendant SKYWEST is the is the holding company for SkyWest Airlines, a re-
gional airline company that provides airline transportation separately and through its association
with companies such as Delta, and is a Utah corporation with its principal place of business also
in Utah.

4. Defendant PROSPECT is incorporated in Illinois and with its principal place of
business in Illinois, and is a company providing airline services such as wheelchair assistance for
and on behalf of airlines and their passengers.

5. Jurisdiction is proper in this court due to diversity jurisdiction and 28 U.S. Code §
1332.

6. Venue is proper in this court because the cause of action and injuries to the Plain-
tiff arose when she was to be provided a wheelchair and assistance when leaving a plane at De-
troit Metropolitan Airport on the jet bridge as part of a ticketed trip from Albany, New York to
Indianapolis, Indiana.

7. The amount in controversy is above the jurisdictional limit for this Court
($75,000.00) based upon the nature of the harms and losses to the Plaintiff as outlined further
throughout this Complaint.

GENERAL FACTUAL ALLEGATIONS
8. Plaintiff incorporates by reference the allegations set forth in paragraph | through

7 above, and all subsequent allegations, as if fully set forth herein.
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.3 Filed 04/05/21 Page 3 of 12

9. Theresa Casella is the Plaintiff and was 80-years-old at the time she was traveling
from Albany, New York to Indianapolis, Indiana as part of a four-leg trip ticketed through De-
fendant Delta Airlines and/or SkyWest Airlines starting on May 4, 2018.

10. Defendants DELTA and SKYWEST are common carriers and in the business of
transporting passengers from various destinations through airports, hubs, and areas over which
they have control and operational authority, including the safe transportation of passengers, and
including those requesting and needing assistance whether due to age, infirmities, disabilities, or
physical limitations or needs (mobility for example).

11. Defendants DELTA and SKYWEST also contract for and arrange for physical as-
sistance for passengers throughout various legs of their common carrier trips and as part of the
ticketing process with their passengers, including embarking and disembarking such flights and
throughout airports and facilities.

12. Upon information and belief, Defendant PROSPECT either did or should have also
provided the wheelchair and/or assistance services to or for Delta and/or SkyWest and for Flight
4616.

13. Upon information and belief, Defendant PROSPECT either had provided or was
sending an employee for wheelchair assistance services for this flight and/or for the benefit of the
Plaintiff as requested and arranged by Plaintiff's son.

14. Plaintiff was a ticketed passenger for Delta Flight 4616, made and paid for her and
on her behalf by her son, Nick, which included him using his status as part of Defendant’s Diamond
Club to arrange for specialized wheelchair assistance and service for Plaintiff because of her age

and limited mobility, as he has done for her in the past.
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.4 Filed 04/05/21 Page 4 of 12

LS, According to the ticketing documents (trip confirmation G2WUTS), the Delta 4616
Flight was operated by SkyWest d/b/a Delta (connection) (seat 19C) with ticket number
0062320857981, issued through Delta.com.

16. The Defendants knew, or reasonably should have known, of the need for Plaintiff
to have wheelchair assistance to embark and disembark from the aircraft.

17. One of the layovers for Delta Flight 4616 on May 4, 2018 was in Detroit, MI at the
Detroit Metropolitan Wayne County Airport, with the ticket/ boarding pass documenting “‘wheel-
chair requested.”

18. The special assistance to be provided by Delta, and as requested and arranged by
Plaintiff's son, was for all four legs of the trip and included immediate wheelchair assistance on
the jet bridge when exiting the aircraft.

19. Plaintiff exited Flight 4616 in order with other passengers and stepped onto the jet
bridge in Detroit.

20. Plaintiff, as she has done in past trips, stepped from the aircraft into the cabin of the
jet bridge and was just outside of the plane’s exist door expecting to be met with a wheelchair and
wheelchair assistance.

21. There were other passengers still deplaning and while a wheelchair was in the area
there was no one there to assist her.

DD. Plaintiff asked a nearby Delta/ SkyWest employee if someone was there to assist
her with her arranged-for wheelchair needs.

23. | Nobody was there present to assist her and after about a five-minute wait standing

on the jet bridge, Plaintiff told the Delta/ SkyWest employee that she could not stand much longer.
Case 2:21-cv-10772-DML-APP ECF No.1, PagelD.5 Filed 04/05/21 Page 5 of 12

24. The Defendant’s employee did not offer the Plaintiff any assistance, provide any
guidance or instructions, other than confirm that an unmanned wheelchair that was on the jet bridge
was for her or could be used by her.

25. The Plaintiff, having waited and telling the Delta/ SkyWest employee that she could
not stand unassisted much longer, eventually asked the Delta/ SkyWest employee if she could sit
down in the wheelchair.

26. The Delta/ SkyWest employee offered no assistance or guidance and only replied
that someone would be coming at some point.

27. The Delta/ SkyWest employee did not assist the Plaintiff either in providing or us-
ing the wheelchair despite knowing of Plaintiff's age and Plaintiff's verbal statement that she
would not be able to stand alone and unassisted much longer.

28. The Plaintiff then tried by herself to sit in the unmanned wheelchair as directed and
while doing so the unsecured, unstable, and unmanned wheelchair and Plaintiff fell backwards
with her back and hip areas striking the floor of the jet bridge.

29. The Plaintiff may have been knocked out or unconscious and does not remember
everything post-fall.

30. The Delta/ SkyWest employee did not see Plaintiff fall and only turned around after
she fell to see Plaintiff on the ground.

a1. Plaintiff lay on the floor in severe pain with passengers continuing to exit around
her and no airline personnel offering any assistance other than to tell other passengers not to assist

her as someone had called for an ambulance or medical assistance.
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.6 Filed 04/05/21 Page 6 of 12

32. Plaintiff was taken by paramedics in an ambulance to Oakwood Annapolis Hospital
in Michigan for six days, where she was diagnosed with and treated for acute displaced intertro-
chanteric fracture of the left femur, which diagnosis included a closed left hip fracture.

COUNT I - NEGLIGENCE

33. Plaintiff incorporates by reference the allegations set forth in paragraph | through
32 above, and all subsequent allegations, as if fully set forth herein.

34. | Ascommon carriers, Defendants DELTA and SKYWEST owed the Plaintiff a high
duty of care to provide for the safety and care for its passengers.

35. | Ascommon carriers and based upon the arrangements for and notice to Defendants
DELTA and SKYWEST about the need for wheelchair service, Defendants owed Plaintiff duties
of care that included service and assistance in deplaning and in obtaining, providing, and using a
wheelchair, which included (a) providing a safe and secure wheelchair and (b) assistance in em-
barking and disembarking the plane and assistance entering into and exiting from a wheelchair.

36. Defendant PROSPECT also owed duties of reasonable care to provide for the safety
and care for airline passengers.

373 Defendant PROSPECT has the same duties and obligations as the Defendants
DELTA and SKYWEST to airline passengers.

38. All Defendants were on notice of their duties to provide assistance to persons with
disabilities and those who requested and for whom arrangements were made for wheelchair assis-
tance, including specifically the Plaintiff.

39. Plaintiff relied upon the wheelchair assistance arranged for by her son and with all

Defendants.
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.7 Filed 04/05/21 Page 7 of 12

40. All Defendants have a duty to provide training for all employees regarding wheel-
chair assistance and help for the disabled and those employees dealing with the traveling public.

41. All Defendants are responsible for these wheelchair and assistance services and for
any companies or agents it hires or arranges for to provide wheelchair assistance.

42. All Defendants owed Plaintiff and the traveling public a duty to provide safe and
reliable and reasonable wheelchair service, which included prompt and safe assistance into and
out of the wheelchair.

43. Plaintiff expressed a need for assistance when she was standing in the jet bridge
and later expressed a more urgent need for assistance when she told the Delta/ SkyWest employee
she could not continue standing without such assistance.

44. Plaintiff relied upon the Defendants to provide such service and relied upon, to her
detriment, the actions and comment of the Delta/ SkyWest employee that led to her fall and inju-
ries.

45. All Defendants must provide timely and safe wheelchair assistance to prevent fore-
seeable falls and protect vulnerable passengers from harm.

46. All Defendants must promptly provide assistance for a passenger with a disability
in getting on and off a plane.

47. All Defendants must provide a safe and secure wheelchair and assistance for such
passengers to prevent falls and protect vulnerable passengers from harm.

48. Safety should be the first priority with a disabled passenger needing wheelchair
assistance.

49, All Defendants should make sure to provide safe, prompt, and adequate assistance

for wheelchair passengers.
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.8 Filed 04/05/21 Page 8 of 12

50. About 36 million older adults fall each year in the United States, with falls being
the leading cause of injury and death for the older population.

51. Previously, and during the first part of her trip, the Plaintiff had had someone from
Delta meet her and provide a wheelchair and assistance in getting into and out of the wheelchair.

52. Plaintiff specifically told the Delta/ SkyWest employee on the Detroit jet bridge
that she needed assistance, that she would not be able to stand there without wheelchair assistance
for long, and that after waiting further she had to sit down.

53. Plaintiff put her purse/book bag on the arm of the wheelchair for safety reasons and
tried to get into the wheelchair herself, when she was unable to do so and fell because Defendants
provided no assistance or instructions.

54. Defendants DELTA and/or SKYWEST operated as a common carrier and as such
this common carrier-passenger relationship created a duty on Defendants to exercise the highest
standard of due care of a reasonably prudent common carrier.

55. All Defendants owed duties and the degree of skill and care a reasonable carrier
would use under similar circumstances.

56. Previously, on prior flights and the earlier parts of this particular flight, the Defend-
ants provided a wheelchair and a person to assist and aid Plaintiff, which was not provided to the
Plaintiff in Detroit; further, when she explicitly told the Delta employee, she really needed assis-
tance and could not stand much longer on her own, the Delta/ SkyWest employee just directed her
to sit down in the wheelchair on her own.

57. All Defendants were on notice of a heightened need for and the standard of care
required to assist passengers such as Plaintiff and of the known and foreseeable risks involved for

such passengers if such instruction and assistance and a safe wheelchair care are not provided.
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.9 Filed 04/05/21 Page 9 of 12

58. Such duties of Defendants include the duty to exercise such diligence as would be
exercised in these circumstances by a reasonably prudent carrier, including providing not just a
wheelchair but a safe and secure wheelchair and assistance for the use of the wheelchair and as-
sistance getting into and out of the wheelchair, including after Plaintiff told the Delta/ SkyWest
employee that she could not stand on her own much longer by herself.

59. Because of the special relationship between Defendants and this passenger, and
because of the wheelchair assistance required of Defendants offered by them and relied upon by
Plaintiff, Defendants owed a duty of special care to protect its passengers, with the plane, jet
bridge, and wheelchair in the possession and control of Defendants.

60. All Defendants were on notice of their obligations of due care and duty for wheel-
chair safety and protection under law.

61. All Defendants were also on notice of and responsible to ensure that any contractors
or entities who were to provide such arranged-for wheelchair services also comply with all due

care and safety for wheelchair arrangements and safety services for needy passengers, including

the Plaintiff.
62. All Defendants breached their respective duties outlined above.
63. All Defendants violated their duties of care and did not exercise such diligence and

care as would be expected of a common carrier in these circumstances
64. All Defendants breached their respective duties to Plaintiff and as a proximate
cause and result caused serious and permanent physical, economic and non-economic damages to
her, including:
a. Hospitalizations and surgery;

b. Rehabilitation and convalescence needs at a rehabilitation center;
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.10 Filed 04/05/21 Page 10 of 12

c. Still needing assistance with daily living needs;

d. Missing events such as graduation of grandson from medical school;

e. Permanent harms and losses;

f. Open reduction and internal fixation procedure on her left hip, including placement
of a guide wire through her femur and femoral neck and into the femoral head, with
placement of screws and plates

g. Occupational and physical therapy;

h. Pain and suffering

i. Embarrassment and humiliation;

j. Loss of qualify of life;

k. Permanent losses and changes to her abilities from before the fall;

l. Inability to travel home and an extended stay in Michigan for rehabilitation needs;

m. Complications from her injuries and treatments, including pneumonia concerns and
intestinal obstructions

n. Extensive assistance in activities of daily living, including basic task such as basic
hygiene needs and getting in and out of bed and ambulating difficulties;

o. Difficulty in weight bearing and walking and needing a wheelchair and other assis-
tance devices such as a walker;

p. Impaired balance;

q. Need for a colostomy bag;

r. Increased swelling and other complications, included elevated heart rate and de-
creased motion in lower extremities;

s. Colonic ileum and further hospitalization;

10
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.11 Filed 04/05/21 Page 11 of 12

t. Fatigue and other complications associated with the fall injuries, treatments, and
foreseeable and predictable sequalae from such an injury to Plaintiff;
u. Decreased socialization and mobility compared to what Plaintiff was doing and
able to do before the fall;
v. Depression related to the fall, injuries, treatments, and limitations;
w. Sleep disturbances;
x. Loss of independence and mobility;
y. Isolation;
z. Permanent need for a walker;
aa. Changes to her pre-fall life, including no longer being able to drive as she did pre-
fall to travel to visit family and friends, and ongoing needs for daily assistance with
basic tasks (housekeeping, laundry, shopping, cleaning, cooking);
bb. Other emotional harms and losses and fears; and
cc. Other damages, harms and losses, allowed under Michigan law and its jury instruc-
tions, and as developed through discovery.
WHEREFORE, Plaintiff THERESA CASSELLA requests that this court enter Judgment
against the Defendants in whatever amount Plaintiff is found to be entitled, together with costs,

interests, and attorney fees as provided by law.

RINGSMUTHWUORI, PLLC

Dated: April S_, 2021 By: \ \
Thomag’J. Whori (P4096)
Blake ingsmuth (P44013)
Attorneys for Plaintiff

11
Case 2:21-cv-10772-DML-APP ECF No. 1, PagelD.12 Filed 04/05/21 Page 12 of 12

JURY DEMAND

Plaintiff THERESA CASSELLA, by and through her attorneys, RINGSMUTHWUORI PLLC,

demands a trial by jury in the above-captioned matter.

Dated: April 5_, 2021

12

RINGSMDUTHWUORI, PLLC

By:

Thomas J. Wuori)(P41096)
Blake K.Ringsmuth (P44013)

Attorneys for Plaintiff

 
